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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
CLIFFORD S. MASS,

                                Plaintiff,

         against
                                                         CIVIL ACTION NO.: 18 Civ. 2239 (GBD) (SLC)

GREG COHEN PROMOTIONS, LLC and GREGORY D.
COHEN,                                                                SCHEDULING ORDER

                                Defendants.


SARAH L. CAVE, United States Magistrate Judge:

         The Court held a Telephone Conference today, November 2, 2020 regarding the status of

discovery. The parties reported that the deposition of nonparty David Schuster, which was the

subject of a pending Letter-Motion to Compel (ECF No. 76), has taken place. That Motion is

accordingly DENIED as moot.

         A Telephone Status Conference is scheduled for Friday, December 11, 2020 at 3:00 pm

on the Court’s conference line. The parties are directed to call: (866) 390-1828; access code: 380-

9799, at the scheduled time.

         The Clerk of Court is respectfully directed to close ECF No. 76.



Dated:             New York, New York
                   November 2, 2020

                                                       SO ORDERED



                                                       _________________________
                                                       SARAH L. CAVE
                                                       United States Magistrate Judge
